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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Neal Scott Jr.
                           Plaintiff,
v.                                               Case No.: 1:16−cv−00723
                                                 Honorable Sheila M. Finnegan
Menard, Inc.
                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 9, 2018:


        MINUTE entry before the Honorable Sheila M. Finnegan: Jury trial held and
concluded on 5/9/2018. Jury returns its verdict. Jury finds for Defendant, Menard, Inc. and
against Plaintiff, Neal Scott, Jr. Civil case terminated. Mailed notice(sxw, )




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